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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

DYLAN REEVES,                                    )
                                                 )   Case No. 1:21-cv-04592
                  Plaintiff,                     )
    vs.                                          )   Honorable Sharon Johnson Coleman
                                                 )
ARGOLICA, LLC,                                   )   Magistrate Judge M. David Weisman
                                                 )
                  Defendant.                     )

                               JOINT STIPULATION OF DISMISSAL

          Plaintiff, Dylan Reeves, and Defendant, Argolica, LLC, each by and through their

undersigned counsel, pursuant to to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), hereby advise

the Court that Plaintiff and Defendant have reached a settlement and jointly stipulate to the

dismissal of this action, each party to bear his/its own costs.

Dated: April 21, 2022                                  Respectfully submitted,

DYLAN REEVES                                           ARGOLICA, LLC

By: /s/ Rusty Payton                                   By: /s/ Pamela Leichtling
Rusty A. Payton                                        Pamela Leichtling
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